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               IN THE UNITED STATES DISTRICT COURT FOR                  .'-Mf-'IV.
                  THE SOUTHERN DISTRICT OF GEORGIA           ^'jsvpon lUll- |S
                           SAVANNAH DIVISION                 '    "       "

 UNITED STATES OF AMERICA
                                                              sj-rrTT 0,-ga.
 V.                                          CASE NO. CR413-171


 VERNON DOWLINGS,

         Defendant.




                                 ORDER


      Before the Court is Defendant's Motion seeking compassionate

release (Doc. 119), to which the Government has filed a response

in opposition (Doc. 120). In his motion, Defendant seeks to reduce

his term of imprisonment for various reasons, including: (1) he

was recently diagnosed with a brain tumor; (2) he has been well-

behaved and engaged in prison programs during his imprisonment;

(3) he is a father of three daughters and a step-father to two

other children; (4) his father has "end-life COPD"; and (5) his

mother recently survived triple-bypass surgery. For the following

reasons, Defendant's motion is DENIED.

      First,   Defendant   has   not   exhausted    his   administrative

remedies as required by 18 U.S.C. § 3582(c)(1)(A). A court may

reduce    a term of imprisonment on a motion from a defendant "after

the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on the

defendant's behalf or the lapse of 30 days from the receipt of
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